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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

              UNITED STATES OF AMERICA,                   CRIMINAL CASE NO.
                    v.                                    1:13-cr-276-ODE-GGB
              RAPHEAL BANKS, et al.

                           ORDER AND REPORT AND RECOMMENDATION

                   Counsel for the Defendant Rapheal Banks has filed two motions related to Banks’

             rights under the Speedy Trial Act [Docs. 238, 240]. The first motion, in its entirety,

             consists of a one-sentence demand for a speedy trial [Doc. 238]. The basis of that

             motion is unclear, particularly in light of the fact that counsel consented to the

             continuance of a pre-trial evidentiary hearing [see Doc. 223]. That hearing is scheduled

             to be held on January 12 and 13, 2015 [Doc. 226]. The “motion for speedy trial” is

             therefore DENIED WITHOUT PREJUDICE, and counsel is directed, if he so

             chooses, to renew his motion with a memorandum of law in support, as required by this

             Court’s local rules. LCrR 12.1, NDGa; LR 7.1(A)(1), NDGa.

                   In the second motion, Banks seeks to have his indictment dismissed based on a

             violation of the Speedy Trial Act [Doc. 240]. Specifically, he asserts that he was

             arrested by state authorities on January 18, 2013, and that federal agents sought an

             arrest warrant for Ladarious Gibbs, Banks’ co-defendant, on January 21, 2013. He




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             argues that January 21 is the day that “federal law enforcement actively began working

             the case” triggering the speedy trial act. Accordingly, he argues, as his May 20, 2014

             indictment was more than 30 days after January 21, 2013, his indictment should be

             dismissed in light of 18 U.S.C. § 3161(b).

                   Banks’ assertion—that the 30-day period should run from the date that federal

             authorities sought an indictment against a co-defendant—is deficient under a plain

             reading of § 3161(b) in two regards. First, the statute provides that an indictment or

             information charging “an individual” be filed within 30 days of the arrest of “such

             individual.” 18 U.S.C. § 3161(b). Therefore, an investigation involving a co-defendant

             does not trigger the 30-day period as applied to Banks. Further, the relevant 30-day

             period is triggered when the defendant is “arrested or served with a summons,” not on

             the date that federal law enforcement sought a warrant. Id. Accordingly, Banks has

             failed to demonstrate that January 21, 2013, should be considered the triggering date for

             his speedy trial rights under 18 U.S.C. § 3161(a). To the extent that Banks may suggest

             that his arrest by state authorities triggered his speedy trial rights, that argument is

             foreclosed by Eleventh Circuit precedent. See United States v. Russo, 796 F.2d 1443,

             1450-51 (11th Cir. 1986); see also United States v. Hatcher, 300 F. App’x 659 (11th

             Cir. 2008) (unpublished).


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                  In light of the above, I RECOMMEND that Banks’ motion to dismiss his

             indictment be DENIED.

                  SO ORDERED and RECOMMENDED this 30th day of December, 2014.



                                              GERRILYN G. BRILL
                                              UNITED STATES MAGISTRATE JUDGE




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